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Attorney for Plaintiff
RON BOLAND AND LINDA BOLAND

                    UNITED STATES DISTRICT COURT
                         DISTRICT OF NEVADA

                                          :
RON BOLAND AND LINDA                      :
                                            Civil Action No.: ______
BOLAND,                                   :
                                          :
                   Plaintiff,             :
      v.                                  :
                                          :
                                            COMPLAINT
CAPITAL ONE BANK, N.A.,                   :
                                          :
                   Defendant.             :
                                          :

      For this Complaint, the Plaintiff, RON BOLAND AND LINDA BOLAND,

by undersigned counsel, states as follows:


                                 JURISDICTION
      1.     This action arises out of Defendant’s violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”) by negligently,

knowingly, and/or willfully placing automated calls to Plaintiff’s cellular phone

without consent, thereby violating the TCPA.
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      2.     This action is also brought under Nevada Revised Statutes Chapter

598.0918 (“NRS 598”) and Nevada Revised Statutes Chapter 41.600 et seq. (“NRS

41.600”) for Defendant’s deceptive trade practices as further described herein.

      3.     Plaintiff alleges as follows upon personal knowledge as to Plaintiff

and Plaintiff’s own acts and experiences, and, as to all other matters, upon

information and belief, including investigation conducted by Plaintiff’s attorneys.

      4.     Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367 and this

Court has original jurisdiction over Plaintiff’s TCPA claims. Mims v. Arrow Fin.

Serv., LLC, 132 S.Ct. 740 (2012).

      5.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) &

(c), because Plaintiff resides within the District of Nevada, a substantial portion of

the events or omissions giving rise to the claim occurred in this District, and

Defendant regularly conducts business in this District.

                                      PARTIES
      6.     The Plaintiff, RON BOLAND AND LINDA BOLAND (“Plaintiff” or

“Mr. and Mrs. Boland”), is an adult individual residing in Las Vegas, Nevada.

      7.     Plaintiffs, and each of them, at all times relevant herein, were over the

age of sixty (60) and were each an “Older person” as that term is meant pursuant to

Nevada Revised Statutes (NRS) 41.1395(4)(d).

      8.     Plaintiff is, and at all times mentioned herein was, a “person” as
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defined by 47 U.S.C. § 153(39).

      9.     Defendant CAPITAL ONE BANK, N.A. (“CAPITAL ONE”), is

doing business in the State of Nevada.

      10.    Defendant is and at all times mentioned herein was, a corporation and

is a “person,” as defined by 47 U.S.C. § 153 (39).

      11.    CAPITAL ONE at all times acted by and through one or more of its

agents or representatives.

       THE TELEPHONE CONSUMER PROTECTION ACT OF 1991

      12.    In 1991, Congress enacted the TCPA in response to a growing number

of consumer complaints regarding certain telemarketing practices.

      13.    The TCPA regulates, among other things, the use of automated

telephone dialing systems.

      14.    47 U.S.C. § 227(a)(1) defines an automatic telephone dialing system

(“ATDS”) as equipment having the capacity –

             (A) to store or produce telephone numbers to be called,
             using a random or sequential number generator; and

             (B)   to dial such numbers.

      15.    Specifically, 47 U.S.C. § 227(1)(A)(iii) prohibits any call using an

ATDS or an artificial or prerecorded voice to a cellular phone without prior

express consent by the person being called, unless the call is for emergency

purposes.
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       16.    According to findings by the Federal Communications Commission

(“FCC”), such calls are prohibited because automated or prerecorded telephone

calls are a greater nuisance and invasion of privacy than live solicitation calls. The

FCC also recognized that wireless customers are charged for incoming calls.1

       17.    On January 4, 2008, the FCC released a Declaratory Ruling wherein it

confirmed that autodialed and prerecorded calls to a wireless number by a creditor,

or on behalf of a creditor, are permitted only if the calls are made with the “prior

express consent” of the called party.2

       18.    On July 10, 2015, the FCC issued FCC Order 15-72, wherein the

FCC3 stated that “[a] caller may not limit the manner in which revocation [of prior

express consent to call] may occur” and that the “burden is on the caller to prove it

obtained the necessary prior express consent”. Id. at ¶ 30.

       19.    Further, consumers (like the Plaintiff) may revoke consent through

any reasonable means. Id. at ¶ 47.




1
 Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG
Docket No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003).
2
 In the Matter of Rules and Regulations Implementing the Telephone Consumer Protection Act
of 1991, 23 F.C.C.R. 559, 23 FCC Rcd 559, 43 Communications Reg. (P&F) 877, 2008 WL
65485 (F.C.C.) (2008).
3
  See Declaratory Ruling and Order, Adopted June 18, 2015 and Released July 10, 2015
regarding In the Matter of Rules and Regulations Implementing the Telephone Consumer
Protection Act of 1991, CG Docket No. 02-278, WC Docket No. 07-135
(https://apps.fcc.gov/edocs_public/attachmatch/FCC-15-72A1.pdf).
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      20.    Nothing in the language of the TCPA or its legislative history

supports the notion that Congress intended to override a consumer’s common law

right to revoke consent. Id. at ¶ 58.

      21.    Indeed, some consumers may find unwanted intrusions by phone more

offensive than home mailings because they can cost them money and because, for

many, their phone is with them at almost all times. Id. at ¶ 61.

      22.    Consumers have a right to revoke consent, using any reasonable

method including orally or in writing. Id. at ¶ 64.

              ALLEGATIONS APPLICABLE TO ALL COUNTS
      23.    In November 2015, Mrs. Boland was diagnosed with breast cancer. As

a result of her medical condition Mr. and Mrs. Boland’s household expenses

increased resulting from significant medical costs, while their gross income

decreased causing them to default on their financial obligations.

      24.    Capital One was one of the Plaintiffs’ creditors and Mr. and Mrs.

Boland routinely paid their obligation to Capital One in a timely manner until Mrs.

Boland’s health deteriorated.

      25.    However, once the Capital One account went into default, Capital One

commenced calling the Plaintiffs’ cell phones to collect its debt.
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       26.     Upon receiving Capital One’s calls, the Plaintiffs’ advised Capital One

that Mrs. Boland was undergoing health issues and they would contact Capital One

to make payment arrangements when Mrs. Boland surgery was complete.

       27.     On or about August 2016, upon receiving Capital One’s collection calls

the Plaintiffs instructed Capital One to cease all calls to their cell phones.

       28.     Mr. and Mrs. Boland explained to Capital One’s representatives that

Mr. Boland was acting as his wife’s full time caregiver, while they worked through

her health issues and requested that Capital One cease all its collection calls, so they

could focus on Mrs. Boland’s recovery.

       29.     However, Capital One disregarded the Plaintiffs’ requests and on a daily

basis from August 2016 through November 2016 the Plaintiffs received numerous

daily calls from the Defendant from (at least) the following phone number: (800)

955-6600.

       30.     Upon information and belief, Defendant employs an automatic

telephone dialing system (“ATDS”) which meets the definition set forth in 47 U.S.C.

§ 227(a)(1).

       31.     Defendant or its agent/s contacted Plaintiffs on Plaintiff’s cellular

telephone numbers ending in “4389” and “7379” via an ATDS as defined by 47

U.S.C. § 227(a)(1), as prohibited by 47 U.S.C. § 227(b)(1)(A).
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In the calls that Plaintiffs did answer, there would be a short pause lasting about two

to three seconds between the time the calls were answered and the time that a live

agent introduced themselves as a representative from Defendant

       32.    In the calls that Plaintiff did answer, there would be a short pause

lasting about two to three seconds between the time the calls were answered and the

time that a live agent introduced themselves as a representative from Defendant.

       33.    Upon information and belief, based on the pause and lack of prompt

human response during the phone calls in which Plaintiff answered, Defendant used a

predictive dialing system to place calls to Plaintiff.

       34.    “A predictive dialer is equipment that dials numbers and, when certain

computer software is attached, also assists [caller] in predicting when an [agent] will

be available to take calls. The hardware, when paired with certain software, has the

capacity to store or produce numbers and dial those numbers at random, in sequential

order, or from a database of numbers.” Meyer v. Portfolio Recovery Associates, LLC,

707 F.3d 1036, 1043 (9th Cir. 2012).

       35.    The Federal Communications Commission (“FCC”) has determined that

predictive dialing systems are a form of an automatic telephone dialing system. Id.

       36.    Upon information and belief, the predictive dialing system employed by

Defendant transfers the call to a live agent once a human voice is detected, thus

resulting in a pause after the called party speaks into the phone.
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       37.    As discussed above, in or about August 2016 the Plaintiffs instructed

Defendant or its agent(s) not to call the Plaintiff’s cell phone ever again thereby

revoking consent, if any ever existed, to be contacted by Defendant via an ATDS.

       38.    However, Defendant placed calls to the Plaintiff’s cellular telephone

without consent using an ATDS in violation of the TCPA.

       39.    Defendant’s ATDS has the capacity to store or produce telephone

numbers to be called, using a random or sequential number generator.

       40.    The telephone number that Defendant used to contact Plaintiff was and

is assigned to a cellular telephone service as specified in 47 U.S.C. §

227(b)(1)(A)(iii).

       41.    Defendant’s calls to Plaintiff’s cellular telephone were not for

“emergency purposes.”

       42.    Pursuant to the TCPA and the FCC’s January 2008 Declaratory Ruling,

the burden is on Defendant to demonstrate that it had prior express consent to call

Plaintiff’s cellular phone with an ATDS.

       43.    The Plaintiff suffered actual harm and loss, since each of the unwanted

calls depleted the Plaintiff’s cell phone’s battery, and the cost of electricity to

recharge the phone is a tangible harm. While small, this cost is a real one, and the

cumulative effect can be consequential, just as is true for exposure to X-rays resulting

from the Defendant’s unwanted phone calls to the Plaintiff’s cell phone.
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      44.    Plaintiff also suffered from an invasion of a legally protected interest by

placing calls to the Plaintiff’s personal phone line when the Defendant had no right to

do so, resulting in an invasion of Plaintiff’s right to privacy. The TCPA protects

consumers from this precise behavior.

      45.    Plaintiff has a common law right to privacy. E.g., Samuel D. Warren &

Louis D. Brandeis, The Right to Privacy, 4 Harv. L. Rev. 1155, 193 (1890).

Congress sought to further protect that right by enacting the TCPA.

      46.    Plaintiff was also personally affected, since the Plaintiff felt that the

Plaintiff’s privacy had been invaded when the Defendant placed calls to the

Plaintiff’s phone line without any consent to do so.

      47.    The injury suffered by Plaintiff is concrete because Defendant’s

violations caused Plaintiff to suffer an invasion of privacy.

                                       COUNT I

                            Negligent Violations of the
                       Telephone Consumer Protection Act,
                             (47 U.S.C. § 227, et seq.)

      48.    Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

      49.    Defendant negligently placed multiple automated calls to cellular

numbers belonging to Plaintiff without Plaintiff’s prior express consent.

      50.    Each of the aforementioned calls by Defendant constitutes a negligent
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violation of the TCPA.

      51.    As a result of Defendant’s negligent violations of the TCPA, Plaintiff

is entitled to an award of $500.00 in statutory damages for each call in violation of

the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

      52.    Additionally, Plaintiff is entitled to and seek injunctive relief

prohibiting such conduct by Defendant in the future.

                                     COUNT II

                    Knowing and/or Willful Violations of the
                     Telephone Consumer Protection Act,
                           (47 U.S.C. § 227, et seq.)

      53.    Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

      54.    Defendant knowingly and/or willfully placed multiple automated calls

to cellular numbers belonging to Plaintiff without Plaintiff’s prior express consent.

      55.    Each of the aforementioned calls by Defendant constitutes a knowing

and/or willful violation of the TCPA.

      56.    As a result of Defendant’s knowing and/or willful violations of the

TCPA, Plaintiff is entitled to an award of treble damages up to $1,500.00 for each

call in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

227(b)(3)(C).

      57.    Additionally, Plaintiff is entitled to seek injunctive relief prohibiting
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such conduct by Defendant in the future.

                                   COUNT III

                       Defendant’s Violations of Nevada’s
                         Deceptive Trade Practices Act
                                (NRS 598.0918)

      58.    Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

      59.    “Solicitation” means “the act of . . . seeking to obtain” something – in

this case money. Solicitation, Black’s Law Dictionary (2d Pocket Ed. 2001).

      60.    Here, the Defendant solicited the Plaintiff to seek or obtain money

from the Plaintiff.

      61.    On March 13, 2001, Assembly Bill 337 (AB 337) was introduced to

the Nevada State Legislature. AB 337 revised Nevada’s Deceptive Trade Practices

statutes codified at NRS 598 et seq.

      62.    As expressed by Marilyn Skibinski, Regulatory Analyst, Bureau of

Consumer Protection, AB 337 was enacted to “provide[] additional protection for

consumers.” See Minutes of the Meeting of the Assembly Committee on Commerce

and Labor, 71st Session, April 4, 2001, page 1082, which can be viewed at

http://www.leg.state.nv.us/Division/Research/Library/LegHistory/LHs/2001/AB33

7,2001.pdf (the “AB 337 Minutes”).

      63.    Further, AB 337 was specifically intended to apply to companies (like
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the Defendant) using “automatic calling” or automated dialing systems. As Ms.

Rushton stated in response to Senator Maggie Carlton, “[that] is exactly what [AB

337 is intended to do.” Id. at page 4093.

      64.    In specific, AB 337 made it a deceptive trade practice to, during a

solicitation by telephone, to repeatedly or continuously conduct the solicitation or

presentation in a manner that is considered by a reasonable person to be annoying,

abusive or harassing;

      65.    Defendant repeatedly and continuously placed telephone calls to the

Plaintiffs’ residential phones (which are also the Plaintiffs’ cellular phones) to

solicit money from the Plaintiffs in a manner that would be considered annoying,

abusive or harassing by a reasonable person.

      66.    Specifically, Defendant placed calls to Plaintiffs even after the

Plaintiffs demanded Defendant cease calls to the Plaintiff, advised Capital One of

Mrs. Boland’s health issues, and instructed Capital One to cease all solicitations

until Mrs. Boland recovered at which time they would contact Capital One.

However, Capital One callously and willfully disregarded the Plaintiffs’ demands

for solace and continued soliciting Plaintiffs numerous times per day on a daily

basis. Such conduct is unquestionably harassing and annoying.

      67.    As a direct consequence of Defendant’s harassing phone calls, acts,

practices and conduct, the Plaintiff suffered and continues to suffer from anger,
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anxiety, emotional distress, frustration, rage, headaches, an upset stomach, heart

palpitations, and has otherwise been totally annoyed by Defendant’s intrusive and

illegal phone calls. Plaintiff has also lost the use of personal and family time while

enduring these frustrations, as well as lost time and minutes from cell phone use,

for which the Plaintiff is charged a fee.

       68.   Defendant’s violations of NRS 598.0918 constitute violations of NRS

41.600 and the Plaintiff is entitled to relief under NRS 41.600.

                              COUNT IV

                             Elder Abuse
                     (Violations of NRS 41.1395)

       69.   Plaintiffs repeats and realleges the above paragraphs of this

Complaint and incorporates them herein by reference.

       70.   The Plaintiffs are each an "older or vulnerable" person as defined by

NRS 41.1395.

       71.    CAPITAL ONE caused the Plaintiffs, and each of them, to suffer

injuries as a result of its’s illegal conduct; specifically emotional and economic

distress.

       72.   Defendant’s actions were willful and unjustified and resulted in

causing injuries and mental anguish to the Plaintiff.

       73.   Specifically, as a direct consequence of Defendant’s harassing phone

calls, acts, practices and conduct, the Plaintiffs, and each of them, suffered and
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continues to suffer from anger, anxiety, emotional distress, frustration, rage and

has otherwise been totally annoyed by Defendant’s intrusive and illegal phone

calls.

         74.      As a direct and proximate result of Defendant’s wrongful conduct, the

Plaintiff has therefore suffered damages.

                                   PRAYER FOR RELIEF

         WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendant awarding the Plaintiff:

               1. Injunctive relief prohibiting such violations of the TCPA by Defendant

                  in the future;

               2. Statutory damages of $500.00 for each and every call in violation of the

                  TCPA pursuant to 47 U.S.C. § 227(b)(3)(B);

               3. Treble damages of up to $1,500.00 for each and every call in violation

                  of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(C);

               4. Actual damages including, but not limited to, the emotional distress the

                  Plaintiff has suffered (and continues to suffer) as a result of the

                  intentional, reckless, and/or negligent violations of NRS 598.0918 as

                  permitted under NRS 41.600;

               5. Two (2) times any actual damages pursuant to NRS 41.1395;

               6. An award of attorney’s fees and costs to counsel for Plaintiff; and
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       7. Such other relief as the Court deems just and proper.

           TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: December 9, 2016

                                    Respectfully submitted,

                                    By /s/ David H. Krieger, Esq.

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